Case 1:25-cv-05201-JAV   Document 51-5   Filed 07/17/25   Page 1 of 22




                           EXHIBIT E
Case 1:25-cv-05201-JAV   Document 51-5   Filed 07/17/25   Page 2 of 22
               Case 1:25-cv-05201-JAV             Document 51-5      Filed 07/17/25   Page 3 of 22
On-MLS Study




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                                                                                                     2
                        Case 1:25-cv-05201-JAV                             Document 51-5                    Filed 07/17/25                 Page 4 of 22
On-MLS Study




Summary
Information that is transparent and available to all consumers is essential for ensuring equitable access
to homeownership. The multiple listing service (MLS) fills that role, as the source for accurate, open data
that supports an efficient housing marketplace. The MLS is a cooperative enterprise where real estate
agents and brokers share information about listings, connect buyers and sellers, and facilitate home sales
transactions. The vast majority of homes sold are listed on the MLS. Bright MLS serves most of the Mid-
Atlantic region, covering six states and the District of Columbia. In 2022, more than 85% of all homes sold in
the region were listed and marketed on the MLS.


Benefits to Buyers

The MLS benefits both buyers and sellers. When homes are listed on the MLS, prospective buyers are able
to view and tour nearly all homes available for sale. They do not need to contact individual brokers to see
different homes—the MLS makes the homebuying process more convenient for buyers. The MLS also
plays a key role in advancing fair housing by ensuring all prospective buyers can access full information
about homes available for sale, as opposed to other systems that limit information about listings to certain
networks of buyers.


Benefits to Sellers

There are also significant benefits for sellers who use an agent to list their home on the MLS. The MLS
makes it possible for sellers to have the greatest number of homebuyers see, tour, and potentially make
an offer on their home. Brokers and agents enter accurate, detailed information about homes listed for
sale, which helps market a seller’s property. The MLS provides a subset of its rich data to consumer real
estate sites such as Zillow, Realtor.com, and brokerage websites, which receive millions of views each
month. By listing their home on the MLS, sellers can receive the most competitive offer because their home
is exposed to the greatest possible number of prospective buyers.


Bright MLS collaborated with Drexel University to analyze the role the MLS plays in the home sale
transaction, and specifically to measure the seller benefits associated with listing and marketing a home
on the MLS. This is the largest study to date comparing on- and off-MLS home sales, analyzing more than
1 million transactions that took place between 2019 and the first quarter of 2023. The study compares
homes sold on-MLS to similar homes sold off-MLS (e.g., for sale by owners, office exclusives/pocket
listings1, etc.) The research results corroborate findings from prior studies2, demonstrating that the MLS
provides significant benefits to consumers.


1
    An office exclusive or pocket listing refers to listing agreements in which the property is only marketed within the broker’s firm and not publicly
    advertised for sell elsewhere, including on the MLS.
2
    See Gillen, Kevin C., Ken Schneider, and Lisa Sturtevant. 2022. Bright MLS On-MLS Study: Measuring the Benefits of an Open Marketplace, Northern
    Nevada Regional MLS Sales Price Impact Study. 2023. Naniik, LLC.                                                                                      3
             Case 1:25-cv-05201-JAV              Document 51-5            Filed 07/17/25       Page 5 of 22
On-MLS Study




Key Findings
Figure 1. Nearly All Sellers List Their Home
on the MLS
Share of on-MLS home sales



   100%


   95%


   90%


   85%                                                                                                Bright Footprint


   80%                                                                                                Baltimore Metro


   75%                                                                                                 Philadelphia Metro

                                                                                                       Washington DC Metro
   70%
            2019              2020               2021              2022           2023




   Listing a home on the MLS has become even more important in the post-pandemic housing market.
   Nearly all sellers list their homes on the MLS. Between 2019 and the first quarter of 2023, 84.0% of all homes
   sold were marketed and sold on the MLS. The on-MLS share dipped slightly during the fast-paced pandemic
   market; however, as the housing market has cooled in response to higher mortgage rates, more sellers are
   listing their home on the MLS. In 2022, 85.5% of homes that were sold in the Bright footprint were listed on
   the MLS. In the first quarter of 2023, early indications show the on-MLS share increased to nearly 90%.

   Sellers in Bright’s three major markets were all very likely to list their home on the MLS. Between 2019 and
   2023, over 83% of homes sold in the Philadelphia and Baltimore metro areas were listed on the MLS. The
   on-MLS share was 88.0% in the Washington, D.C., area market over that same time period.




                                                                                                                             4
                    Case 1:25-cv-05201-JAV                       Document 51-5                 Filed 07/17/25               Page 6 of 22
On-MLS Study




Figure 2. Homes Sold on the MLS Had
Higher Prices Than Homes Sold Off-MLS
Price difference when sold on-MLS

                                                                      26%


                                23%                                                                          23%


                                                                20%
                          18%                                                                          18%                                            18%
                    17%                                   17%

                                                                                     15%                                                      15%
        13%                                                                                14% 14%
              13%                                                                                                                       13%
                                              12% 12%                                                                       11% 11%




           Bright Footprint                        Baltimore Metro                       Philadelphia Metro                     Washington D.C.


                                              2019              2020              2021               2022              2023 Q1




    Homes sell for more when they are listed on the MLS. This research examined comparable homes sold
    on- and off-MLS and found that homes listed and marketed on the MLS consistently bring sellers a higher
    price. Between 2019 and the first quarter of 2023, homes sold on the MLS sold for 17.5% more than
    comparable homes sold without being listed on the MLS.

    Furthermore, the on-MLS price premium has increased in recent years. In 2019, on-MLS sales commanded
    a 13.3% higher price, on average. By 2022, the typical on-MLS sale price was 18.3% higher, and data from
    the first quarter of 2023 suggests the on-MLS price premium is even more pronounced this year. *




    *
        On-MLS increase based on the 2023 average sale price of homes marketed through Bright MLS compared to other similar homes in the same area.
        Every home is unique and the housing market is subject to fluctuation. Results cannot be guaranteed.
                                                                                                                                                            5
                   Case 1:25-cv-05201-JAV        Document 51-5            Filed 07/17/25             Page 7 of 22
On-MLS Study




Figure 3. There is a Significant Financial
Benefit to Sellers Who Sell Using the MLS
Median sales price: Bright Footprint




      2019                                                                      $33,250




      2020                                                                                 $36,110




      2021                                                                                     $48,140




      2022                                                                                           $53,890




    Q1 2023                                                                                   $63,530



              $0         $50.000
                            ,      $100.000
                                       ,       $150.000
                                                   ,        $200.000
                                                                ,          $250.000
                                                                               ,          $300.000
                                                                                              ,          $350.000
                                                                                                             ,




                                      Off-MLS Sales Price              On-MLS Sales Price




   There is a significant financial benefit to sellers who market their home on the MLS. Homes that are listed on
   the MLS—as opposed to homes sold privately by the seller, offered as a broker’s office exclusive, or otherwise
   sold without listing on the MLS—reach the greatest number of prospective homebuyers and bring the seller
   the most competitive offer. In 2022, this research indicates that listing a home on the MLS brought the typical
   home seller an additional $53,890 compared to what they would have received if they had sold their home
   outside of the MLS.




                                                                                                                     6
               Case 1:25-cv-05201-JAV            Document 51-5           Filed 07/17/25       Page 8 of 22
On-MLS Study




Conclusion
In this evolving housing market, where new technologies offer the promise of transforming the real estate
industry, this research demonstrates that the most important step buyers and sellers can take is to work
with a real estate professional and use the MLS to list, market, and view homes.


The MLS provides the most accurate and transparent property information to consumers, ensuring that all
prospective buyers have access to the same opportunities. Sellers forgo significant financial benefits when
they do not take advantage of the MLS’s ability to bring together the greatest number of buyers and sellers,
which creates an efficient marketplace for all consumers and leads to home prices that reflect true
market conditions.




     About Bright MLS
     Bright’s industry-leading MLS supports more than 100,000 real estate professionals who serve
     millions of homebuyers and sellers across six states and the District of Columbia. In 2022 alone,
     Bright MLS helped facilitate more than $121 billion in real estate transactions, helping more than a
     quarter of a million consumers find a place to call home.




     Without the MLS, fair housing falls short.
     The MLS exists to ensure an open, clear, and competitive
     housing marketplace that gives everyone the
     ability to find their place to call home.


     Learn more about the value of the MLS at brightmls.com/open.




                                                                                                               7
                        Case 1:25-cv-05201-JAV                           Document 51-5                    Filed 07/17/25                 Page 9 of 22
On-MLS Study




Methodology
Data
This research analyzed more than 1 million home sales transactions taking place in five states3 and the District
of Columbia between 2019 and the first quarter of 2023. This analysis makes use of public records data, which
are local government data that include information about all home sales transactions in the local jurisdiction.
The transactions in the public records data are compared to Bright MLS listing data, the comprehensive
database of properties listed for sale by participating agents and brokers in the region.


A critical element of the research was to identify true “arm’s-length” residential resale home sales transactions
in order to estimate outcomes for a typical seller in the market. An arm’s-length transaction is one in which
the buyer and seller act independently and do not have any relationship to each other. As a result, each party
consummates the transaction only if they perceive it to be in their own self-interest.


There is no specific identifier of an arm’s-length transaction in either the public records or MLS data; however,
the data used in this study include a range of information that was used to define traditional arm’s-length
transactions as carefully as possible. Several other types of homes were excluded from this analysis to narrow
the focus to traditional home sales and to make it possible to compare on- and off-MLS transactions.


The following types of transactions were excluded from this analysis:


•       Sale price less than $45,000

•       Total living area less than 500 square feet

•       Short sales, nominal sales, foreclosures, bank sales, government sales, sheriff’s sales or auctions, and
        intra-family transfers

•       Multi-parcel sales, new construction, co-op listings, and corporate buyers

•       “Flips,” which were defined as homes purchased by investors and quickly (within 12 months) turned
        around and resold




3
     Portions of New Jersey, Pennsylvania, and Virginia, along with the entire states of Delaware and Maryland, and the District of Columbia were included in this
    analysis. See www.brightmls.com/our-markets for Bright’s coverage area. Counties in West Virginia were excluded from this analysis due to a lack of public
    records data.                                                                                                                                                    8
              Case 1:25-cv-05201-JAV            Document 51-5          Filed 07/17/25       Page 10 of 22
On-MLS Study




In addition to these filters, outliers were removed from the dataset. Properties in the top and bottom 1.5%
of transactions based on the home’s total living area, sale price, and price per square foot were excluded
for this analysis. The exclusion of outliers in this manner is common in housing economic studies to
account for data errors as well as very unusual properties that do not reflect typical transactions.


The final dataset included 1,003,263 transactions taking place between January 2019 and March 2023
across the Bright footprint. A total of 846,565 of these sales were transacted on-MLS, while 156,698
were off-MLS transactions.




                                                                                                              9
                      Case 1:25-cv-05201-JAV                            Document 51-5                    Filed 07/17/25                Page 11 of 22
On-MLS Study




Model

The study uses a hedonic regression model to isolate the impacts of selling a home on-MLS versus off-MLS.
Hedonic regression is a well-established approach for analyzing housing market outcomes.4 The basic
intuition of a hedonic regression—as it applies to housing—is that the total value of a home is the sum of its
individual characteristics. This includes its physical characteristics (e.g. size, condition, design), locational
characteristics (e.g. proximity to amenities such as parks, restaurants, and dry cleaners; neighborhood
quality of life; amount of greenspace), and fiscal characteristics of its city or town (e.g. school quality,
frequency of trash collection, quality of roads and parks, and taxes, etc.). A hedonic regression explicitly
accounts for differences in the attributes of individual properties and can isolate and then measure the
dollar value that a particular attribute has on the home’s value.


This study utilizes a hedonic regression to control for and isolate a range of property and location attributes
that impact a home’s sale price in order to isolate the price effect of a home selling on- versus off-MLS.




Where:



                      = the natural log of the ith property’s sale price

                      = indexes each observation in the sample: i=1, 2, 3, …N

                      = indexes total number of control variables in the regression

                      = the characteristic of the ith property with the jth characteristic; e.g., square footage

                      = 0 if the transaction is off-MLS
                      = 1 if the transaction is on-MLS


                      = the estimated parameter coefficient on the jth characteristic

                      ~i.i.d (0,1)




4
    Sopranzetti, B.J. (2015). Hedonic Regression Models. In: Lee, CF., Lee, J. (eds) Handbook of Financial Econometrics and Statistics. Springer, New York,
    NY. https://doi.org/10.1007/978-1-4614-7750-1_78                                                                                                          10
               Case 1:25-cv-05201-JAV             Document 51-5           Filed 07/17/25        Page 12 of 22
On-MLS Study




The value of      gives the value of a sale transacting on-MLS versus off-MLS, after controlling for all other factors
that determine a property’s sale price.


Models were estimated for the Bright MLS footprint overall. Separate models were also run for each of the three
major metropolitan areas in the Bright MLS footprint (Philadelphia, Baltimore, and Washington, D.C.). Lastly, the
models were estimated by year to examine how the value of listing a home on-MLS versus selling off-MLS changed
over time, especially pre- and post-COVID.


The regressions were estimated using an Iterative Weighted Least Squares (IWLS) approach. While Ordinary
Least Squares (OLS) is the default estimation method for regression analysis, this method implicitly assumes that
all observations should be given equal weight in the computation. This is generally an erroneous assumption in
housing, where there is a lot of variation across homes and there are transactions that are relatively unique. The
IWLS estimation accounts for the variability in home sales data, giving less weight to very unique sales and more
weight to more typical sales.




Variables


The dependent variable is the home’s sale price, which is the close price reported in the MLS if the property is
an on-MLS sale, and is the price recorded by each county or city in the title transfer record if it is an off-MLS
transaction. The dependent variable is logged so that the models’ parameter estimates can be interpreted as
percentages.


A whole range of factors were included as explanatory variables in the model, including both property and
neighborhood characteristics. As a result of restrictions and inconsistencies in the public records data, there were
limits on the explanatory variables that could be included in the model. In particular, information on the number of
bedrooms and bathrooms, which is consistently available for homes listed on the MLS, is not routinely collected
or made available by local governments in the public records data. By contrast, total living area (square feet) is
available more consistently in both the MLS and public records data.


Despite these limitations, the models include a range of explanatory variables that account for both property and
neighborhood characteristics, which allowed for reliable measurement of the impact on a home’s sale price when it
is listed on the MLS as opposed to being sold off-MLS.




                                                                                                                         11
              Case 1:25-cv-05201-JAV      Document 51-5            Filed 07/17/25     Page 13 of 22
On-MLS Study




Figure 4. Model Variables
Property and location characteristics were included to isolate the
impact of the MLS on home prices.


  Dependent Variable             Sale price (in dollars), logged


  Explanatory/Independent        Property Characteristics
  Variables                      •     Property type (single-family or condominium)
                                 •     Distance to the nearest MSA’s central
                                       business district


                                 Neighborhood Characteristics (Census tract data)
                                 •     Homeownership rate
                                 •     Percent multifamily units
                                 •     Percent of households with 2+ people
                                 •     Percent married-couple households
                                 •     Percent of adults age 25+ with a bachelor’s
                                       degree or higher
                                 •     Percent of population age 65+
                                 •     Median household income (000s of $s)




                                                                                                      12
              Case 1:25-cv-05201-JAV             Document 51-5          Filed 07/17/25       Page 14 of 22
On-MLS Study




Results

The vast majority of home sellers list their home with a real estate agent or broker using the MLS. Over
the period of 2019 through Q1-2023, 84.0% of all homes sold across the Bright MLS footprint were listed
on the MLS. Just 16% were sold outside of the MLS as a for-sale-by-owner, as an office exclusive or pocket
listing, through an agent not using the MLS, or via some other off-MLS transaction.


Sellers rely on the MLS even when it is a strong seller’s market. In fact, the share of homes listed on the
MLS generally increased during the pandemic, when inventory hit record lows and home prices surged.
In 2019, 81.0% of all homes sold in the Bright MLS footprint were listed on the MLS. The on-MLS share
increased to 84.0% in 2020 and to 84.1% in 2021. As the COVID-19 pandemic receded and the housing
market cooled, sellers have been even more likely to use the MLS. The share of homes listed on the MLS
was 85.5% in 2022. In the first quarter of 2023, early indications show 89.2% of sales were on-MLS
transactions across the Bright footprint.



Figure 5. Share of On-MLS Home Sales

   Year                   Bright Footprint       Philadelphia Metro       Baltimore Metro       Washington D.C. Metro

   2019                        81.0%                   77.8%                    83.5%                    85.3%

   2020                        84.0%                   83.0%                   84.9%                     87.2%

   2021                        84.1%                   83.7%                    81.7%                    88.6%

   2022                        85.5%                   86.7%                    81.9%                    89.6%

   2023 Q1                     89.2%                   88.8%                    85.2%                    93.5%

   2019-Q1 2023                84.0%                   83.3%                    83.1%                    88.0%




Across the Mid-Atlantic’s three major metro areas, sellers are much more likely to list their home for sale
on the MLS than to sell off-MLS. In 2022, the share of on-MLS sales ranged from 81.9% in the Baltimore
metro area to 89.6% in the Washington, D.C., metro area. The Baltimore metro area generally has had a
slightly larger share of off-MLS listings, which could reflect sales associated with significant community
redevelopment activities in the City of Baltimore.




                                                                                                                        13
                      Case 1:25-cv-05201-JAV                         Document 51-5            Filed 07/17/25   Page 15 of 22
On-MLS Study




After accounting for property and neighborhood characteristics, regression results show there is a
significant sale price benefit to sellers when they sell their home on-MLS. Across the Bright footprint,
homes that were sold between 2019 and the first quarter of 2023 and were listed and marketed on the
MLS sold for 17.5% more than comparable properties sold off-MLS (e.g. as a for-sale-by-owner, office
exclusive/pocket listing, etc.).


Regression results are presented below for the Bright footprint. Results for the Philadelphia metro,
Baltimore metro, and Washington, D.C, metro areas are included in the Appendix.


Overall, the adjusted R-square values indicate that the models are well-specified, explaining a significant
share of the variation in home prices over the time period and across metro areas. The signs on the
coefficients of the explanatory variables are generally as expected. The negative Condo coefficient
signifies that condominium prices tend to be lower than single-family prices, holding other factors
constant. The TotalLivingArea coefficient is positive, indicating that larger homes sell for a higher price.
Newer homes also have higher prices than older homes, on average.


Most neighborhood characteristics also generally conform to expectations. Homes closer to the central
business district have lower prices than homes farther out.5 Homes located in Census tracts with higher
median household incomes and a higher share of residents with a bachelor’s degree or higher sell for a
higher price. Homes located in neighborhoods with a higher share of older residents (age 65+) also tend
to sell for higher prices. In the three metro areas, neighborhoods with a greater share of married couple
households are associated with higher home prices.


The model results suggest that a greater share of owner-occupied homes in a particular Census tract
is associated with a lower sale price, while a higher multifamily share indicates a higher home sale price
(except in the Washington, D.C., metro area), holding other factors constant. This result could be driven
by transactions in urban areas where there are more amenities that drive home prices higher, but also
more multifamily buildings. Due to data limitations, it was not possible to include amenities as explanatory
variables in the models.


The price impact of listing a home on the MLS is obtained by exponentiating the On_MLS coefficient.
Overall, across the Bright footprint, homes that were listed on-MLS sold for 17.5% more than those that
were not over the period of 2019 through Q1 2023. The on-MLS price premium generally increases over
time. In 2019, before the pandemic and during a more typical housing market, the on-MLS premium was
13.3%. By 2022, the impact of listing a home on the MLS versus selling it off-MLS had increased to 18.3%.
The findings suggest that even during a decidedly seller’s market, where supply was at historically low
levels, listing and marketing a home on the MLS was essential for sellers to get the best price for their home.




5
    This would change if the dependent variable had been measured as price per square foot.                                    14
                      Case 1:25-cv-05201-JAV                            Document 51-5                    Filed 07/17/25                Page 16 of 22
On-MLS Study




Figure 6. Weighted Least Squares Results: Bright Footprint


                                                      All Years            2019              2020               2021              2022               Q1 2023
       No. of observations                           1,003,263           219,873            238,127           269,854            209,691              65,718
       R-squared                                       0.6475            0.6740             0.6709             0.6854            0.7008              0.7058
       Adj R-squared                                   0.6475            0.6740             0.6709             0.6854            0.7007              0.7057


       On_MLS_PCT_Premium                               17.5%             13.3%              12.9%              16.6%             18.3%               23.1%


       Intercept                                       11.5119           11.4397            11.5173            11.5607           11.6012             11.5461
       On_MLS                                           0.1615            0.1250             0.1211            0.1537             0.1678             0.2077
       Condo                                          -0.2503            -0.2315            -0.2358           -0.2632            -0.2723             -0.2734
       TotalLivingArea (00s of sqft)                   0.0293            0.0283             0.0281             0.0294            0.0302              0.0296
       Dist_CBD                                        -0.0016           -0.0017            -0.0016            -0.0015           -0.0016             -0.0014
       AgeLT2yrs                                       0.0995             0.1264            0.0986             0.0907            0.0974               0.1112
       Age5-10yrs                                     -0.0566            -0.0731           -0.0649            -0.0475            -0.0510             -0.0459
       Age10-25yrs                                     -0.1142           -0.1070            -0.1064           -0.0962            -0.1058             -0.1054
       Age25-50yrs                                     -0.1314           -0.1351            -0.1307            -0.1192           -0.1349             -0.1288
       Age50-75yrs                                     -0.1572           -0.1735            -0.1653            -0.1464           -0.1714             -0.1725
       AgeGE75yrs                                     -0.2503            -0.2361            -0.2395            -0.2611           -0.3056             -0.3042
       Pct_Owner                                      -0.0256            -0.0936           -0.0493             -0.0103           0.0227              0.0548
       Pct_Multifamily                                 0.3888            0.3800             0.3750             0.3853            0.3810              0.4125
       Pct_2pl_People                                  0.0968             0.1221             0.1032            0.0700            0.0684              0.0750
       Pct_Married                                     -0.0177           -0.0500           -0.0635             0.0357             0.1021              0.1175
       Pct_Bachpl                                      0.6158             0.6513            0.6298             0.5973            0.5879              0.6079
       Pct_65pl                                        0.3276             0.4158             0.4172            0.3174             0.2831             0.2796
       Median_HH_Income($ 000s)                       0.00351           0.00365            0.00353            0.00331           0.00309              0.00304



Results for the three major metro areas in the Bright footprint are generally consistent with the overall
findings. (Metro area results in the Appendix.) In the Philadelphia metro area, after controlling for property
and neighborhood characteristics, the effect of the MLS on sale price was 15.5% for transactions taking
place between 2019 and the first quarter of 2023. The on-MLS premium generally rose over time, from
11.3% in 2019 and 11.2% in 2020 to 15.1% in 2022 and 18.0% in the first quarter of 2023.6




6
    The results for the first quarter of 2023 should be treated as directional and not a final estimate of the on-MLS premium for 2023 as a whole.             15
              Case 1:25-cv-05201-JAV             Document 51-5         Filed 07/17/25        Page 17 of 22
On-MLS Study




The effects of listing a home on the MLS were higher in the Baltimore and Washington, D.C., metro areas.
Over the period of 2019 through 2023, homes sold on-MLS commanded a 15.8% higher price in the
Baltimore area, on average, while the average price premium was 17.0% for homes sold in the Washington,
D.C., metro area. In both regions, the benefits to sellers associated with listing their home on the MLS
increased during the pandemic, and there appear to be even stronger effects in the post-pandemic
housing market, based on 2022 and early 2023 results.


The financial benefit to sellers is significant. Listing on the MLS showcases a home to more prospective
buyers, creating a more efficient marketplace and resulting in a price that reflect true demand and supply
in the market. Sellers do much better when their home is listed on the MLS, receiving a significant financial
benefit from having access to more potential buyers.


In 2022, the typical seller who sold a home on-MLS in the Bright footprint made nearly $54,000 more than
a seller who sold a comparable home off-MLS. The financial benefit to sellers has increased over time, as
both the on-MLS premium and overall home prices have increased. Significant financial benefits to sellers
were realized across the three metro areas in the Bright footprint. In 2022, sellers in the Philadelphia metro
area made $53,110 more when they listed their home on the MLS. Sellers in the Baltimore metro area
received a sale price that was $52,480 higher than what comparable off-MLS sellers received, and the
financial benefit to sellers in the Washington, D.C., metro area in 2022 was $61,170.




Figure 7. On-MLS Financial Benefit to Seller

   Year                   Bright Footprint      Philadelphia Metro        Baltimore Metro      Washington D.C. Metro

   2019                       $33,250                 $25,130                 $37,860                  $42,450

   2020                       $36,110                 $28,590                 $38,370                  $45,550

   2021                       $48,140                 $47,760                 $40,540                  $51,400

   2022                       $53,890                 $53,110                 $52,480                   $61,170

   2023 Q1                    $63,530                 $65,390                 $59,290                  $73,640




                                                                                                                       16
             Case 1:25-cv-05201-JAV              Document 51-5          Filed 07/17/25       Page 18 of 22
On-MLS Study




Conclusion

The housing market continues to evolve, but the desire for homeownership is unwavering. Buying and selling
a home is the biggest financial decision most people will make in their lifetime. The transaction is more than
financial, however. Homeownership is an essential part of the American Dream, and becoming a homeowner
is about finding a place to make memories, nurture aspirations, grow a family, and build community. Having a
transparent and efficient housing market, where all consumers can participate, is at the heart of supporting
the American Dream of homeownership.


The MLS provides a platform for ensuring equitable access to information and brings the widest range
of sellers and buyers together to create a fair and efficient housing marketplace. Homebuyers benefit by
knowing there are no properties “hidden” from them as they search for a home and that everyone has
access to the same information. Sellers benefit because the MLS allows their property to be viewed by the
greatest number of prospective buyers, bringing them the strongest offer.




                                                                                                                 17
               Case 1:25-cv-05201-JAV         Document 51-5        Filed 07/17/25      Page 19 of 22
On-MLS Study




Appendix
Figure A-1. Weighted Least Squares Regression Results
Philadelphia Metro Area
                                  All Years    2019      2020          2021         2022     Q1 2023
  No. of observations             309,931     67,140     71,918       83,124     67,373      20,376
  R-squared                       0.6686      0.7058     0.7070       0.7144    0.7329       0.7270
  Adj R-squared                   0.6686      0.7057     0.7069       0.7143    0.7328       0.7268


  On_MLS_PCT_Premium               15.5%       11.3%     11.2%        12.7%         15.1%    18.0%


  Intercept                       11.7407     11.6658    11.7413      11.7714   11.7708      11.7241
  On_MLS                           0.1443     0.1072     0.1062       0.1195     0.1407      0.1652
  Condo                           -0.2354     -0.2088   -0.2422       -0.2627   -0.2577      -0.2582
  TotalLivingArea (00s of sqft)   0.0337      0.0328     0.0325       0.0338    0.0347       0.0341
  Dist_CBD                        -0.0002     0.0004    0.0002        -0.0007   -0.0008      0.0005
  AgeLT2yrs                       0.0884      0.1326     0.1095       0.0449    0.0920        0.1172
  Age5-10yrs                      -0.0501     -0.0976   -0.0524       -0.0330   -0.0522      -0.0336
  Age10-25yrs                     -0.1436     -0.1532   -0.1284       -0.1120   -0.1208      -0.1013
  Age25-50yrs                     -0.2005     -0.2206   -0.1905       -0.1782   -0.1828      -0.1638
  Age50-75yrs                     -0.1461     -0.1698   -0.1364       -0.1204   -0.1507      -0.1455
  AgeGE75yrs                      -0.2368     -0.2321    -0.2115      -0.2282   -0.2776      -0.2688
  Pct_Owner                       -0.0503     -0.1363   -0.0835      -0.0065    0.0404       0.0895
  Pct_Multifamily                 0.0068      -0.0323   -0.0503       0.0218    0.0999       0.1607
  Pct_2pl_People                  -0.3521     -0.3373   -0.3669       -0.3633   -0.3109      -0.3488
  Pct_Married                     0.3280      0.3279     0.2954       0.3583     0.4165      0.4231
  Pct_Bachpl                       0.9901     0.9999     1.0180       0.9451    0.8904       0.9054
  Pct_65pl                         0.1861     0.2584     0.2144       0.1829     0.1668      0.1248
  Median_HH_Income($ 000s)        -0.00001    0.00020   -0.00003     -0.00002   -0.00010    -0.00011




                                                                                                       18
               Case 1:25-cv-05201-JAV         Document 51-5       Filed 07/17/25      Page 20 of 22
On-MLS Study




Figure A-2. Weighted Least Squares Regression Results
Baltimore Metro Area
                                  All Years    2019      2020         2021         2022     Q1 2023
  No. of observations             169,420     34,750    39,074       47,067    36,427        12,102
  R-squared                       0.6970      0.7262    0.7215       0.7329    0.7356       0.7463
  Adj R-squared                   0.6970      0.7260    0.7214       0.7328    0.7354       0.7459


  On_MLS_PCT_Premium               15.8%      14.9%     13.7%        14.2%         18.4%    23.3%


  Intercept                       11.4903     11.4075   11.4974      11.5425   11.5287      11.4931
  On_MLS                           0.1468     0.1390    0.1284       0.1330    0.1690       0.2091
  Condo                           -0.2550     -0.2551   -0.2515      -0.2617   -0.2794      -0.2761
  TotalLivingArea (00s of sqft)   0.0335      0.0332    0.0322       0.0333    0.0337       0.0332
  Dist_CBD                        0.0037      0.0030    0.0037       0.0034    0.0039       0.0048
  AgeLT2yrs                        0.1032      0.1331   0.1100       0.0843    0.1278       0.0969
  Age5-10yrs                      -0.0228     -0.0269   -0.0368      -0.0281   -0.0202      -0.0599
  Age10-25yrs                     -0.0880     -0.0847   -0.0943     -0.0860    -0.0668      -0.1001
  Age25-50yrs                     -0.0855     -0.0918   -0.0961     -0.0888    -0.0896      -0.1146
  Age50-75yrs                     -0.1238     -0.1461   -0.1401      -0.1343   -0.1283      -0.1559
  AgeGE75yrs                      -0.1862     -0.2030   -0.1956      -0.2036   -0.2057      -0.2268
  Pct_Owner                       -0.0418     -0.1042   -0.0742     -0.0050    -0.0056      0.0362
  Pct_Multifamily                  0.1559     0.0974    0.0983       0.1737    0.1969       0.2204
  Pct_2pl_People                  -0.0964     -0.0854   -0.0655      -0.1126   -0.0792      -0.0782
  Pct_Married                      0.3714     0.3673    0.3208       0.4184    0.3793       0.4290
  Pct_Bachpl                      0.4300      0.4889    0.4386       0.4307    0.4025       0.4316
  Pct_65pl                        0.3707      0.4529    0.4519       0.3703    0.3257       0.2834
  Median_HH_Income($ 000s)        0.00232     0.00234   0.00231     0.00200    0.00247     0.00228




                                                                                                      19
               Case 1:25-cv-05201-JAV         Document 51-5       Filed 07/17/25      Page 21 of 22
On-MLS Study




Figure A-3. Weighted Least Squares Regression Results
Washington D.C. Metro Area
                                  All Years    2019      2020         2021         2022     Q1 2023
  No. of observations             334,650     75,474    80,785       91,367    66,180       20,844
  R-squared                       0.7095      0.7590    0.7568       0.7508    0.7445       0.7424
  Adj R-squared                   0.7095      0.7590    0.7567       0.7507    0.7444       0.7422


  On_MLS_PCT_Premium               17.0%       11.5%     11.7%       16.9%         19.7%    26.2%


  Intercept                       12.3551     12.2844   12.3730      12.3473   12.3956      12.2832
  On_MLS                           0.1574     0.1091    0.1104       0.1561    0.1796       0.2323
  Condo                           -0.3562     -0.3381   -0.3374      -0.3610   -0.3756      -0.3721
  TotalLivingArea (00s of sqft)   0.0273      0.0259    0.0260       0.0275    0.0282       0.0273
  Dist_CBD                        -0.0078     -0.0089   -0.0084      -0.0072   -0.0064      -0.0062
  AgeLT2yrs                       0.0570      0.1048    0.0557       0.0475    0.0266       0.0660
  Age5-10yrs                      -0.0580     -0.0559   -0.0604      -0.0526   -0.0535      -0.0460
  Age10-25yrs                     -0.0884     -0.0625   -0.0744      -0.0749   -0.0896      -0.0854
  Age25-50yrs                     -0.0935     -0.0785   -0.0844      -0.0883   -0.1039      -0.0982
  Age50-75yrs                     -0.0420     -0.0208   -0.0371      -0.0354   -0.0794      -0.0826
  AgeGE75yrs                       0.0931     0.1230     0.1142      0.0959    0.0400       0.0141
  Pct_Owner                       -0.3667     -0.3905   -0.3517      -0.3244   -0.3297      -0.3067
  Pct_Multifamily                 -0.0590     -0.0392   -0.0222      -0.0263   -0.0439      -0.0397
  Pct_2pl_People                  -0.1912     -0.2002   -0.2411      -0.1979   -0.1958      -0.0691
  Pct_Married                     0.3690      0.3699    0.3689       0.4235    0.4359       0.3743
  Pct_Bachpl                       0.8216     0.8363    0.7787       0.7628    0.7583       0.8143
  Pct_65pl                         0.3821     0.6090    0.6156       0.4711    0.3618       0.3264
  Median_HH_Income($ 000s)        0.00064     0.00074   0.00074      0.00051   0.00053     0.00035




                                                                                                      20
                 Case 1:25-cv-05201-JAV   Document 51-5   Filed 07/17/25   Page 22 of 22
On-MLS Study




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